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                   9                          UNITED STATES DISTRICT COURT
               10                           CENTRAL DISTRICT OF CALIFORNIA
               11
               12      TELESIGN CORPORATION,                           Case No. 2:16-cv-02106-PSG-SS
               13                      Plaintiff,                      NOTICE OF APPEARANCE
               14            v.
               15      TWILIO INC.,
               16                      Defendant.
               17
               18            Defendant Twilio Inc. files this Notice of Appearance and hereby notifies the
               19      Court that Carrie J. Richey of Cooley LLP, 3175 Hanover Street, Palo Alto,
               20      California 94304-1130, telephone number (650) 843-5000 is appearing on behalf of
               21      Twilio Inc. in the above-referenced matter.
               22      Dated: April 7, 2016                       COOLEY LLP
                                                                  THOMAS J. FRIEL, JR. (80065)
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               25
                                                                  /s/ Carrie J. Richey
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ATTORNEYS AT LAW                                                                          NOTICE OF APPEARANCE
   PALO ALTO
                                                                  1.                       2:16-CV-02106-PSG-SS
